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                         Plaintiff DOE, individually, and for
                      12 PEOPLE OF THE STATE OF CALIFORNIA

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                      15
                                                 UNITED STATES DISTRICT COURT
                      16
                                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                      17

                      18 DOE, individually, and behalf of               CASE NO. 2:20-cv-06098 JAK
                            all others similarly situated;              (AGRx)
                      19                                                FILED: 07/08/2020
                      20                        Plaintiff,              OPPOSITION BY PLAINTIFF
                                                                        DOE TO THE MOTION OF
                      21                                                DEFENDANT UNIVERSITY
                                                                        OF SOUTHERN CALIFORNIA
                      22 v.                                             TO COMPEL ARBITRATION
                                                                        AND TO DISMISS OR STAY
                      23                                                ACTION
                      24 UNIVERSITY OF SOUTHERN                         Date:     April 26, 2021
                         CALIFORNIA, a California Not-                  Time:     8:30 a.m.
                      25 for-Profit
                         Corporation; DOES 1 through 20.                DOE’S (SECOND)
                      26                                                JURY TRIAL DEMAND,
                                                Defendants.             9 USCA § 4 (West)
                      27

                      28


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                        1 I.      SUMMARY OF THE ARGUMENT
                        2         Defendant University of Southern California’s (“USC” or “D”) Motion should
                        3 be denied, as it is filled with misstatements, admissions, and silence on key issues.

                        4         First, USC misrepresents it is purportedly enforcing a “stand-alone, bilateral
                        5 arbitration agreement” signed upon Doe’s (“P”) hire. Motion (“M”), p. 7. On about

                        6
                            February 12, 2018, USC sent Doe a “Contingent Offer” for employment as Senior
                            Investigator in its Office of Conduct, Accountability and Professionalism (“OCAP”),
                        7
                            intended for “moving forward” a “process.”1 The offer was not signed by an authorized
                        8
                            representative of USC. Nor was the alleged Arbitration Agreement (“Alleged
                        9
                            Agreement” or “AA”). USC provides no foundation that Doe signed the alleged
                      10
                            Employee “Agreement to Arbitrate Claims.” USC hired Doe on March 19, 2018, and
                      11
                            required Doe to then sign a Job Description and Confidentiality Statement.
                      12
                                  Second, Doe’s claims are nonarbitrable under the Franken Amendment. After
                      13
                            Doe engaged in multiple acts of protected conduct that were inextricably intertwined,
                      14
                            related to, or arising from, “sexual assault or harassment,”2 Doe’s supervisor Gretchen
                      15 Dahlinger Means (“Means”) solicited, (or influenced, or conspired with), others to

                      16 harass, discriminate, and retaliate against Doe, in violation of Title VII, Title IX,

                      17 FEHA, among other torts.3 Means’ campaign escalated on or after June 11, 2018,

                      18 when the OCR publicly announced a systemic investigation of USC’s “handling of

                      19 sexual harassment claims” under Means’ direction.4 Unbeknownst to Doe, OCR made
                      20 on-campus visits from June 19 through October 11, 2018. Doe ¶ .5 Means, Thompson

                      21 (and others) unlawfully interfered with OCR’s investigation by, in part, placing Doe on

                      22

                      23    1
                              H. Thomp. Dec., Ex. A, p. 3 [to “move forward in this process, please check “Yes”].
                            2
                              See 48 C.F.R. § 222.7402. Doe contends USC violated the Franken Amendment to
                      24    the DOD Approprations bill in 2009 (“Franken”), which required USC’s agreement not
                            to enter into or enforce such AA. Comp. AA ¶ 3(1),(2), with 48 C.F.R. § 222.7402.
                      25    3
                              “Concurrence and knowledge may be inferred from the nature of the acts done, the
                            relation of the parties, the interests . . . and other circumstances.” Wyatt v. Union
                      26    Mortg. Co., 24 Cal. 3d 773, 784-785 (1979) (tacit consent will suffice). See also
                            CACI 3600 (Conspiracy as standalone civil tort), id. 3610 (aiding and abetting tort).
                      27    4
                              https://www.ed.gov/news/press-releases/office-civil-rights-launches-investigation-
                            university-southern-californias-handling-sexual-harassment-claims
                      28    5
                              https://change.usc.edu/files/2020/02/USC-Resolution-Letter.pdf (IBB, Ex. , p. 6, ¶ 1.)

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    1 administrative leave in violation of USC policy, making Doe inaccessible to the OCR.

    2 See 18 U.S.C. § 1513(e). Starting June, USC initially forced Doe off campus, then

    3 housed Doe for months in an office distant from OCAP. USC also cut off Doe’s

    4 access to investigation files and file-sharing systems. In mid-October, Doe was

    5
        returned to Means’ direct management. USC continued to exclude Doe’s access to
        Title IX cases, and other cases, that had been forcibly reassigned away from Doe’s
    6
        initial investigation. USC had other investigators publish reports under Doe’s name.
    7
        (RFJN, ¶ 34.)6 For six months after USC returned Doe to Means’ direct management,
    8
        USC continued to tortiously harass, discriminate and retaliate against P, in violation of
    9
        Titles VII & IX, FEHA and/or other common law torts. Doe’s provider placed Doe
   10
        on medical disability leave in April 2019, “related to work,” and lasting one-year.
   11
                 Such claims are nonarbitrable under the Franken Amendment. USC’s Motion
   12
        misrepresents the terms in and/or omits terms from the AA, and/or JAMS Rules. USC
   13
        fails to address its history of concealing the Franken Amendment and other material
   14 facts to “potential employees.”7 Contrary to federal statute and regulation, USC uses

   15 limiting and expanding modifiers to contort the Franken Amendment. See Cal. Civ.

   16 Code § 1710(3),8 AA ¶ 3(1) and (2); 48 C.F.R. § 222.7402.) USC also fails to

   17 acknowledge ¶3’s express primacy, (“Notwithstanding the foregoing”), over ¶ 2.

   18 Boghos v. Certain Underwriters at Lloyd’s of London, 36 Cal.4th 495, 503 (2005).

   19            Third, USC fails to establish the FAA applies under the plain language of 9
                9           10
   20 U.S.C. § 2 and/or § 1. Even if the FAA applies pursuant to California law

   21 governing arbitration Choice-of-Law clauses, USC has not established that the FAA

   22
        6
            Cf., Whittier v. The University of California, 2:20-cv-09539DSF-RAO, Comp., p.
   23 7, ¶ 34, “The SAR was signed by Investigator Doe.”
        7
            Los Defensores, Inc. v. Gomez, 223 Cal. App. 4th 377, 396 (2014) (duty between
   24 “employer and prospective employee.”)
        8
            “The suppression of a fact, by one who . . . gives information of other facts which are
   25 likely to mislead for want of communication of that fact.” Cf., Los Angeles Memorial
        Coliseuam Com. V. Insomniac, Inc. 233 Cal. App. 4th 803, 831 (2015) (D “makes
   26 partial representations but also suppresses some material facts.”)
        9
            “a contract evidencing a transaction involving commerce to settle by arbitration a
   27 controversy thereafter arising out of such contract or transaction . . .”
        10
             “but nothing herein []shall apply to [contracts of employment of seamen, railroad
   28 employees,] or [any other class of workers engaged in . . . interstate commerce.”]


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    1 has any preemptive effect here. USC disregards manifest Congressional intent in the

    2 Franken amendment, and that USC is bound by Parklane preclusion. D also disregards
                                                                                        11
    3 California’s dual sovereignty to enact police power statutes protecting employees.

    4 Even assuming the FAA somehow applies, USC mispresents Doe cannot demand a

    5
        jury trial. 9 U.S.C. § 4; AA ¶ 8. USC even asserts, Mot., p. 11, (citing HT, Ex B),
        non-existent language (“[parties are giving up their respective rights to a jury trial”).
    6
              Fourth, the AA does not come close to passing muster under Armendariz or
    7
        Gilmer.12 USC does not address Armendariz’s analysis recognizing that FEHA claims
    8
        are under Title VII.13 Federal public policy in the Franken Amendment is congruent
    9
        with Armendariz. Similarly, Armendariz did not consider California police power
   10
        statutes protecting employees from entering into involuntary agreements, nor the
   11
        standards for voluntary waiver of Constitutional rights.14 Next, if USC’s Motion
   12
        overcame these hurdles, careful inspection demonstrate that USC’s superficially-
   13
        appropriate AA fails to comply with Armendariz’s minimum protections. USC’s AA:
   14         (1) is not bilateral in effect (e.g., there was no adequate consideration at alleged
   15 formation; it is not bilateral in effect; contains multiple unilateral one-way waivers);15

   16         (2) expressly limits arbitrator discretion on discovery, supplanting JAMS Rule
   17 17(b)’s three-prong factor analysis, while expressly requiring (“shall”) the arbitrator to

   18 impose the formalism of F.R.C.P. 12(b)(6), Iqbal, F.R.C.P. 56, and Celotex;16

   19
   20   11
           When Congress has legislated in a field the states have traditionally occupied, we
   21   “ ‘start with the assumption that the historic police powers of the States were not to
        be superseded by the Federal Act unless that was the clear and manifest purpose of
   22   Congress.’” Medtronic, Inc. v. Lohr 518 U.S. 470, 485 (1996). This “presumption
        against preemption” does not apply when the state regulates an area in which there
   23   has been “‘a history of significant federal presence,’” such as rail transportation.
        Norfolk S. Ry. Co. v. City of Alexandria, 608 F.3d 150, 160, fn. 12, (4th Cir.2010).
        12
   24      Armendariz v. Found. Health Psychcare Servs., Inc., 24 Cal. 4th 83 (2000);
        Gilmer v. Interstate/Johnson Lane, 500 U.S. 20, 111 S. Ct. 1647 (1991).
        13
   25      Id. at 93–96.
        14
           New York v. U.S., 505 US 144, 181, 112 S.Ct. 2408 (1992) (“the Constitution
   26   divides authority between federal and state governments” to protect “individuals.”)
        15
           See, ¶ 5, lns. 10-12; ¶7, and Cf., Mot., at 10-11, fn., factually contending that ¶ 2
   27   narrows    ¶ 3(1) & 2, and thus one-way waivers federal public policy in Franken.
        16
           Gilmer, 111 S.Ct., at 1654 (“an important counterweight to the reduced discovery
   28   in NYSE arbitration is that arbitrators are not bound by the rules of evidence.”)

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    1            (4) expressly, and pervasively, limits employee relief to “legal relief” only, and
    2 “only” individual relief, consistent with JAMS Rule 24(c)’s carve-out;

    3            (5) expressly references Employee responsibility for a portion of the Arbitrator
    4 fees absent “a showing of hardship”; and

    5
                 (6) expressly exposes Employee to cost-shifting for petitioning this court.17
                 Fifth, USC seeks specific enforcement under the FAA, Mot. at 8, but the FAA
    6
        requires a valid state-law contractual remedy. 9 U.S.C. §§ 2, 4. USC fails to establish
    7
        a prima case under appliable California statutes governing validity and enforcement for
    8
        “any contract,” and standards governing specific enforcement. Cal. Civ. Code §§
    9
        3384, et. seq. (“specific enforcement of obligations”). Further, P has multiple valid
   10
        defenses, raising at least triable issues, including, but not limited to: (1) illegality, (2)
   11
        federal statue and public policy, (3) misrepresentation [or concealment], (4) breach,
   12
        and/or (5) unconscionability. USC’s contentions regarding Doe’s “sophistication” as a
   13
        lawyer in another state is immaterial, because, amongst other reasons,
   14 unconscionability involves “oppression” or “surprise.”18 Cf., Mot., p. 18, ln. 9-10.

   15 Additionally, USC engaged in repeated misrepresentation to courts.19 (RFJN.)

   16            Seventh, the AA is not silent on waivers of equitable, class, or collective
   17 remedies. There is a difference between “procedure” and statutory enactments for

   18 specific enforcement of contracts. Cf. Code Civ. Proc. § 382, Civil Code § 3384, et.

   19 seq. The one-way waiver in ¶ 7 is also not limited to class actions. Also, “To the
   20

   21
        17
             Implied coventants cannot overcome USC’s express terms. (E.g., AA, ¶ 5.) In
   22 Armendariz, at 106, the Court held: “We further infer that when parties agree to
        arbitrate statutory claims, they also implicitly agree, absent express language to the
   23 contrary, to such procedures as are necessary to vindicate that claim.” However, this
        principle does not control where an “express provisions of the contract, grant the right
   24 to engage in the very acts and conduct”, then they are not “forbidden by an implied
        covenant of good faith and fair dealing.” Carma Developers (Cal.), Inc. v. Marathon
   25 Dev. California, Inc., 2 Cal. 4th 342, 374, 826 P.2d 710 (1992).
        18
             While sophistication may go to “surprise,” this is different from “oppression”
   26 which is a lack of meaningful choice. Gatton v. T-Mobile USA, Inc., 152 Cal. App. 4th
      571, 581–583, & 595–596, 61 Cal. Rptr. 3d 344 (2007).
   27 19
         Such a fraud on courts involves an “unconscionable plan or scheme which is
      designed to improperly influence the court in its decision.” Pumphrey v. K.W.
   28 Thompson Tool Co., 62 F.3d 1128, 1131 (9th Cir.1995).


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    1 fullest extent permitted by law” discloses nothing to employees.
                                                                       20


    2         Seventh, USC has begun litigating in the court of public opinion, making media
                                         21
    3 statements regarding Doe’s claims.    Such actions are inconsistent with arbitration.
    4         Last, USC misrepresents Doe’s claim for public injunctive relief. See Comp.,

    5
        ¶¶ 300, 304–305, 309, 314. P does not contend that the AA is per se unlawful, under
        a former judicial rule mandating a judicial forum. Cf., Mot., at 8. Doe is asserting the
    6
        AA limits equitable relief. AA at ¶ 7, lns. 1 & 2; see also JAMS, Rule 24(c) (“In the
    7
        absence of such agreement”).22 Thus, P’s 6th claim does not seek to protect a monetary
    8
        interest (but important public interests). Doe further notes that opt-out notice under
    9
        Fed. Rule 23 is consistent with Epic Systems. Chen-Oster v. Goldman, Sachs & Co.,
   10
        449 F. Supp. 3d 216 (SDNY 2020).23
   11
              In short, D’s Motion lacks merit for enough reasons to make one’s head spin.
   12
        Alternatively, P demands a jury trial. 9 U.S.C. § 4, and AA § 8.
   13
        II.   SUMMARY OF ADDITIONAL FACTS
   14
                     A.    USC is a Regulated Nonprofit Serving the Public Interest
   15
              D’s Mission Statement, IBB Exs, proclaims that D’s Mission is the development
   16 of “society as a whole . . . .” Id. ¶ 1. “USC . . . serves the public interest by being the

   17

   18

   19   20
           Edwards v. Arthur Anderson, 44 Cal. 4th 937, 955 (2008).
        21
           “In a media statement, USC asserted: “The allegations in the lawsuit are baseless.”
   20   https://www.kcet.org/shows/socal-connected/lawsuit-alleges-usc-deleted-evidence-
        maintained-negative-files-against.
   21   22
           Doe further refers the Court to Footnotes, 4, 10, and 11, supra.
        23
           Under Epic Systems, union-employees could be included for injunctive relief. Doe
   22   did not include “union employees” in the Complaint, because seeking injunctive relief
        for union employees could arguably raise preemption or standing issues. See also
   23   https://policy.usc.edu/arbitration/ (“This policy may be waived by the Associate
        Senior Vice President, Human Resources, for employees in bargaining units.”)
   24   However, it may be proper for Doe to seek injunctive relief for union employees.
        Justice Gorsuch’s opinion in Epic Systems, 138 S.Ct. at 1620, 1628, cited to NLRB
   25   General Counsel Memorandum, GC 10-06 (6/16/2010), 2010 WL 11703246
        (N.L.R.B.G.C.), as a basis for construing the FAA and the NLRA together. Justice
   26   Gorsuch’s reasoning, and citation to GC 10-06, is a clue that the majority woud find
        extracting an Arbitration Agreement contrary to GC 10-06 unconscionable. Epic, at
   27   1622. Indeed, given Justice Gorsuch’s discussion in Epic Systems, perhaps all of
        USC’s Arbitration Ageements containing a ¶ 7 fall. See, GC 10-06, Analysis § 2, p. *3,
   28   § 3, p. * 4 [end of ¶ 1], and * 6 [point 2].

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    1 largest private employer in . . . Los Angeles . . . .” Id. ¶ 6. D also warrants that it “is
                                                                     24


    2 a covered federal contractor/subcontractor and must comply with certain affirmative

    3 action efforts.” USC is a federal Department of Defense contractor.
                      25                                                 26
                                                                            The
                                                                      27
    4 Thompson declaration admits that USC’s Code of Ethics is policy. USC does not

    5
        disclose its “Compliance and Ethics Program” references the “Federal Sentencing
        Guidelines for Organizations,” and governmental regulations. USC does not disclose
    6
        its “ethical standards, policies and procedures [are] to prevent and detect violations of
    7
        law.” One surmises the government requires ethics standards from USC.28
    8
                     B.    USC Provides No Evidence of an Enforceable Agreement
    9
              USC policy requires an AA of “[a]ll newly hired or rehired staff
   10
        employees . . . .”29 On March 19, 2018, USC hired Doe as a “Senior Investigator” in
   11
        USC’s Office of Conduct, Accountability and Professionalism (“OCAP”). Yet, USC’s
   12
        Motion improperly asserts Doe was hired February 12, 2018. Cf., Mot., at 7, JY Dec.,
   13
        Ex. E. USC also asserts without foundation that Doe electronically signed the
   14
        “Employee” AA, with both sides intending an Agreement. Yet, USC’s provides no
   15 evidence of any electronic signatures. See HT Decl., ¶ 3, Ex. B. The contention

   16 “Plaintiff signed electronically,” id., facially fails to comply with FRE 803(6).

   17         Further, as demonstrated by the HT Declaration, Ex. A, USC’s contingent offer
   18 for future employment was contingent on Doe executing an “at will” agreement.

   19 Under the plain language, providing that there would be no offer absent consent to
   20 USC’s ability to rescind the offer, there was no consideration. The offer also

   21 references “mov[ing] forward with the process” for at-will employment. ECF No. 13-

   22 3, p. 7. USC accordingly offers no prima facie evidence of any consideration on

   23 February 12; there are simply illusory promises.

   24
        24
   25    https://about.usc.edu/policies/mission-statement/ (¶ 1).
        25
         https://businessservices.usc.edu/for-suppliers/forms/affirmative-action/
        26
   26 27 https://news.usc.edu/139479/usc-darpa-artificial-intelligence/
         USC admits USC’s Code of Ethics is USC “policy.” (H. Thomp, Decl, ¶ 4.)
      28
   27    See, e.g., https://www.jacksonlewis.com/sites/default/files/docs/Compliance-&-
      Ethics-Requirements-for-Federal-Contractors.pdf
   28 29 https://policy.usc.edu/arbitration/


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    1         On March 19, 2018, P was hired. D extracted a one-way Confidentiality
    2 Statement, requiring: (1) familiarization with “all current university policies,” (2) only

    3 using “personal and work-related confidential information” in the course of “legitimate

    4 and authorized university business,” (3) restricting discussion of “personal and work-

    5
        related information,” including “communications” that are “written or conducted via
        electronic media.”30 USC reserved the rights to take “legal action.” Doe Decl.,
    6
        (violations “may be grounds for legal action”).
    7
                     C.    USC Fails to Address the Triable Defenses to the AA
    8
              Doe’s allegations are also material to enforceability, whether in law or equity, as
    9
        Doe avers to facts in the Complaint concerning: (1) falsification of evidence; (2)
   10
        suppression of evidence; (3) spoliation of evidence; and (4) outright dishonesty. Such
   11
        defenses are now presented through Declaration. See Second Doe Declaration.
   12
                     D.    USC’s AA is Not Enforceable
   13
              The densely worded, small-type two-page agreement, partially incorporating
   14
        JAMS Employment and Arbitration Rules (“JAMS EARAP”), is full of contradictory
   15
        and confusing prolix. USC’s Motion repeatedly misrepresents or omits material
   16 language form the AA, in more than 15 ways. D’s USC’s omits from:

   17         •   ¶ 1 that the “University” is only USC.
   18         •   ¶ 1 that the AA represents “internal processes are available for collegially
   19             resolving differences . . .” and “final and binding impartial arbitration is a
   20             means of the delay, expense and unpleasantness of a lawsuit.”31
   21         •   ¶ 2 The entire AA is dependent on 1’s covenants. ¶ 2 (“Therefore. . . .”).
   22         •   ¶ 2 the definition of University in ¶ 1, such that there are no bilateral
   23             “related-entities.” The language would encompass claims against JAMS.
   24         •   ¶ 3, the phrase: “Notwithstanding the foregoing, the following claims are

   25             not covered. . .” expressly providing ¶ 3’s primacy over ¶ 2.

   26
   27   30
        E.g., Labor Code §§ 232(a) and (b), 232.5 (a) and (b) (cf. (c)), and 1197.5(k)(1).
        31
        See, N.L.R.B. v. Yeshiva Univ., 444 U.S. 672, 690, 100 S. Ct. 856, 63 L. Ed. 2d 115
   28 (1980) (explaining collegial processes).


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    1            •   ¶¶ 3(1) and 3(2)’s claims not covered,32 and the Franken Amendment.
    2            •   ¶ 5 only has a partial incorporation of JAMS EARAP. “Any arbitration
    3                pursuant to this Agreement shall be held under the auspices of JAMS, and
    4                conducted in accordance with JAMS [EARAP] (and no other rules),

    5
                     except to the extent the rules conflict with the procedures set forth
                     herein.” Id., ¶ 5. USC conceals numerous conflicts with the 17 pages of
    6
                     JAMS EARAP and other rules such as Minimum Standards.
    7
                 •   ¶ 5’s Employee paying a “share of the Arbitrator’s fees.”
    8
                 •   ¶¶ 5 and 8’s cost-shifting for arbitration motion practice. See also JY
    9
                     Dec., Ex. E, ¶ 2 (“we will seek costs. . .”).
   10
                 •   ¶ 5’s express integration clause, giving USC the one-way power to
   11
                     “revoke” without any notice.33
   12
                 •   ¶ 6 expressly provides any claim, and/or multiple claims, “shall” be made
   13
                     within the “prescribed” statute of limitations, contrary to equitable
   14                exceptions such as continuing violations and relation back.
   15            •   ¶ 8’s multiple express “shalls.” “The arbitrator shall” take “into account
   16                their shared desire to have a fast, cost-effective dispute-resolution
   17                mechanism.” This displaces Rule 17(b)’s three-factor standard.
   18            •   ¶ 8 contains no method for enforceable third-party subpoenas.
   19            •   ¶ 8 supersedes JAMS Rule 18 (arbitrator discretion concerning summary
   20                disposition), while mandating judicial formalism. An arbitrator “shall”
   21                allow motions to dismiss under Fed.R.Civ.P. 12 and Iqbal standards. Id.;
   22                also ¶ 6 (“shall identify and factually describe the nature of all claims

   23                asserted”). The arbitrator “shall” allow MSJ’s and “shall” apply Rule

   24
        32
             USC will likely make much of ¶ 2’s “except as specifically excluded language”
   25 (Mot. at p. 10, ln. 24-25), USC omits ¶ 3’s express “notwithstanding the foregoing”
        language from its Motion. (Mot., p. 10.) This is the type of unconscionable
   26 sandbagging, in which USC engaged. USC here does not admit Franken applies!
        33
             Doe notes that injunctive relief may secondarily return those impacted to the status
   27 quo. Thus, one could forsee an Article III court ordering vacation of every arbitral
        award under any USC AA with one or more of same dispostive obnoxious terms, or
   28 at least notice to those federal judges on whom USC commited fraud on the court.


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    1                56’s evidentiary standards, which includes Celotex.
    2            •   ¶ 7, contains a prohibited one-way procedural rule. The “class action”
    3                waiver limits bringing of “claims . . . only for” an Employee. Similarly,
    4                collective actions cannot be brought by employees, but nothing limits

    5
                     consolidation by USC.
                 •   ¶ 8 “Except as provided in this [AA], the [FAA] shall govern . . . .”
    6
                 •   ¶ 9’s catchall that this AA “shall not be interpreted to preclude . . . filing
    7
                     [a] . . . complaint with the [EEOC, DLSE, NLRB], . . . or any other
    8
                     federal, state or local agency or official.”
    9
                 •   Throughout the AA, the AA expressly only authorizes legal remedies that
   10
                     would be available in court.34 Cf., JAMS Rule 24(c) (permitting an
   11
                     arbitrator to award equitable remedies if within the “scope of the parties
   12
                     agreement,” while expressly distinguishing the words “equitable or legal
   13
                     remedy”).
   14
        The AA put forth by USC is contrary to judicially noticeable prior versions of
   15
        USC’s AA, which formerly provided (1) for “remedies,” and not “legal remedies;”
   16
        (2) “sexual assault or harassment, not “sexual harassment;” 35 and (3) actually
   17
        provided notice the parties were “giving up their respective rights to a jury trial.”
   18
        III.     ARGUMENT
   19
                     A. LEGAL STANDARDS AND BURDENS OF PROOF
   20
                 Federal courts have a “virtually unflagging” duty to hear all controversies
   21
        justiciable under Article III. Susan B. Anthony List v. Driehaus, 134 S. Ct. 2334,
   22
        2347 (2014). Congress cannot infringe on Article III powers. N. Pipeline Const. Co.
   23
        v. Marathon Pipe Line Co., 458 U.S. 50, 83–84 (1982). In a different context, but
   24

   25
        34
             See ¶ 2 (claims “decidable in a court of law”); ¶ 5 (“prescribed” statute of
   26 lmitations); ¶ 7 (infra); ¶ 8 (“remedies” to those which a party is “legally entitled”).
        35
             Of importance throughout this Opposition, the word "Or" means in the alternative.
   27 Hawaiian Airlines Inc. v Norris, 114 S.Ct. 2239, 2244-45 (1994). Stated differently,
        “or” is a function word used to “indicate an alternative.” Merriam-Webster.com
   28 Dictionary, Merriam-Webster, https://www.merriam-webster.com/dictionary/or.


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    1 also citing to arbitration, the Court held an Article III waiver requires one be “made

    2 aware of the need for consent and the right to refuse it, and still voluntarily” waive it.
                                                                              36
    3 Wellness International Network Ltd. v. Shariff, 135 S.Ct. 1932S (2015).

    4         Because, as stated, arbitration limits constitutional rights, when determining

    5
        whether a valid arbitration agreement exists, “the liberal federal policy regarding the
        scope of arbitrable issues is inapposite.” Comer v. Micor, Inc., 436 F.3d 1098, 1104
    6
        n.11 (9th Cir. 2006). Motions to compel arbitration are “functional[ly] equivalent” to
    7
        a Rule 56 motion for summary judgment. Cox v. Ocean View Hotel Corp., 533 F.3d
    8
        1114, 1119 (9th Cir. 2008). Courts generally apply state law to determine validity.
    9
        Wilson v. Huuuge, Inc., 944 F.3d 1212, 1219 (9th Cir. 2019); Cox, 533 F.3d 1114.
   10
        “Only when there is no genuine issue of fact concerning” formation “should the court
   11
        decide” the issue “as a matter of law.” Three Valleys Mun. Wat. Dist. v. E.F. Hutton
   12
        & Co., 925 F.2d 1136, 1141 (9th Cir. 1991). Further, where factual issues may exist,
   13
        a court should permit “discovery . . . before a court entertains further briefing on
   14 [the] question.” Guidotti v. Legal Helpers Debt Resolution, LLC, 716 F.3d 764, 775

   15 (3d Cir. 2013). The moving party must establish a prima facie case for validity and

   16 specific performance before requiring P’s defenses.37 Asfaw v. Lowes, 2014 WL

   17 1928612, at 3 (2014) (“(1) parties capable of contracting; (2) their consent; (3) a

   18 lawful object; and (4) a sufficient cause or consideration.”); see also Trubowitch v.

   19 Riverbank Canning Co., 30 Cal. 2d 335, 347, 182 P.2d 182 (1947) (“adequate”
   20 consideration); Morrill v. Everson, 77 Cal. 114, 19 P. 190 (1888) (“adequacy” is at

   21

   22   36
           Cf., J. Alito, Wellness, concur. at 1950: “No one believes that an arbitrator exercises
        “[t]he judicial Power of” Art. III, § 1, in an ordinary, run-of-the mill arbitration.” Yet,
   23   that
        37
              is not the issue. The issue is “waiver” and this is no run-of-the mill case.
            Joseph Muller Corp. Zurich v. Commonwealth Petrochemicals, Inc., 334 F. Supp.
   24   1013 (S.D.N.Y. 1971) (An FAA § 4 petition is “simply a request for an order
        compelling specific performance of part of a contract.”); Also see, e.g. Spear v.
   25   California State Auto. Assn., 2 Cal. 4th 1035, 1040, 831 P.2d 821 (1992); Civil
        Code § 3391 (“Specific performance cannot be enforced against a party to a contract
   26   in any of the following cases:” including (1) “[she] has not received an adequate
        consideration for the contract;” or (2) “If it is not, as to [her], just and
   27   reasonable….”); Civil Code § 3392 (“Specific performance cannot be enforced in
        favor of a party who has not fully and fairly performed all the conditions precedent.
   28   . . except” for certain failures not applicable here.)

                                             10
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    1 the “time of the formation.”)

    2

    3                B.    USC HAS NOT ESTABLISHED FAA PREEMPTION
    4         USC’s conclusory contentions that the FAA applies are unavailing. Starting
                        38
    5 with 9 U.S.C. § 2, USC’s Motion fails to establish that Doe’s employment meets the

    6
        test in Allied-Bruce and Bernhardt,39 because USC furnishes no evidence of Doe’s
        work. Allied-Bruce Terminix Companies, Inc., 513 US 265. USC’s cases on
    7
        commerce powers, Mot., n.6, are all inapposite.40 D’s citations to California’s Choice-
    8
        of-Law arbitration doctrines, Mot., 13:6–9, do not establish FAA preemption. For
    9
        instance, Victrola 89 and Biller are irrelevant to whether California would enforce an
   10
        AA for a continuing at-will employee waiving AB 51, disregarding the Franken
   11
        Amendment, and failing to contain a valid voluntary waiver of a the right to a jury trial.
   12
        USC also omits ¶ 8’s prefatory FAA limitation.
   13
              Next, the Ishop’s Declaration triggers § 1’s exemption for employment
   14
        contracts. D assumes that because P was not employed to drive a vehicle with wheels,
   15 or a seaman, P falls outside any other “class of workers engaged in . . . interstate

   16 commerce.” Not so. The word “transportation” (although understandable short-hand

   17

   18   38
           “A written provision in any . . . contract evidencing a transaction involving
        commerce to settle by arbitration a controversy thereafter arising out of such
   19   contract or transaction, . . . shall be valid, irrevocable, and enforceable, save upon
        such grounds as exist at law or in equity for the revocation of any contract.”
   20   39
           See, Allied-Bruce Terminix Companies, Inc. v. Dobson, 513 U.S. 265, 276, 115 S.
        Ct. 834, 130 L. Ed. 2d 753 (1995), citing Bernhardt v. Polygraphic Co. of Am., 350
   21   U.S. 198, 200, 76 S. Ct. 273, 100 L. Ed. 199 (1956) (“There is no showing that
        petitioner while performing his duties under the employment contract was working ‘in’
   22   commerce, was producing goods for commerce, or was engaging in activity that
        affected commerce, within the meaning of our decisions.”) USC must establish that the
   23   Arbitration agreement is a “contract evidencing a transaction interstate commerce,”
        i.e., that it had a “substantial relationship to interstate commerce.” See, Carbajal v.
   24   CWPSC, Inc., 245 Cal. App. 4th 227, 240, 199 Cal. Rptr. 3d 332 (2016); Cf., Perry v.
        Thomas,     482 U.S. 483, 490, 107 S. Ct. 2520, 96 L. Ed. 2d 426 (1987).
   25   40
            Daghlian v. DeVry Univ., Inc., 582 F. Supp. 2d 1231 (C.D. Cal. 2007)
        (determining that state regulation of private post-secondary schools requiring WASC
   26   accreditation violated dormant commerce clause by discriminating against interstate
        commerce); Gelow v. Cent. Pac. Mortg. Corp., 560 F. Supp. 2d 972 (E.D. Cal. 2008)
   27   (in a case allegeing a RICO conspiracy by multi-state mortgage loan companies, court
        conclusory held that branch manager employment contracts containing arbitration
   28   clauses, concerned “interstate commerce.”)

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    1 in Circuit City), appears nowhere in § 1. In 2001, the Supreme Court, reviewing a case

    2 filed in 1995, see Circuit City Stores, Inc. v. Adams, 532 U.S. 105, 109, 120–121

    3 (2001), held that an in-store “sales counselor,” id. at 111, was not “engaged . . . in

    4 interstate commerce,” in response to a contention that § 1 covered all employees.

    5
        Invoking a textualist approach, id. at 116–118, and expressly eschewing any
        Congressional-intent analysis as relevant to that case, id. at 118–120, Circuit City held
    6
        that “engaged in commerce” “appears to denote only persons or activities within the
    7
        flow of interstate commerce.” Citing Gulf Oil Corp. v. Copp Paving Co., 419 U.S.
    8
        186, 195 (1974). Precisely the exact reasoning as to why Circuit City in 2001
    9
        excluded a “sales clerk” at a private retailer explains why USC cannot invoke the FAA.
   10
        Circuit City declined to read § 1 through the lens of Lochner era restrictions on
   11
        commerce powers because doing so would “bring instability to statutory
   12
        interpretation.” Id. at 117, 119. Similarly, reading “engaged in interstate commerce”
   13
        as limited to archaic lines of employment is impossible. It is undisputed, for instance,
   14 that § 1 covers truck drivers. Modernizing § 1’s meaning through reference to strictly

   15 trucks and planes “bring[s] instability to statutory interpretation.”

   16 As the Ishop Declaration forcefully illustrates, ¶ 2-4, USC is a regulated industry,

   17 and USC’s employees are “engaged in interstate commerce.” See also IBB, Ex. G

   18 USC’s Senate Minutes, lns. 272-273 (“For geographically dispersed faculty,

   19 [investigators] . . . interviews are conducted via video conference.”)
   20           There is also another problem with D’s textual misadventure. USC’s employees
   21 transact business over fiber optic, use phones, and video conferencing, similar to the

   22 telegraph. There is no basis to rewrite § 1 with “transportation” nomenclature that
                41


   23 appears nowhere therein. In 1925, “seaman” and “railroad employees” were like other
        classes of employees engaged, or closely connected to, federally regulated activities.
   24

   25
        41
             See, e.g., Int'l Text-Book Co. v. Pigg, 217 U.S. 91, 112, 30 S. Ct. 481, 487, 54 L.
   26 Ed. 678 (1910) (“If intercourse between persons in different states by means of
        telegraphic messages conveying intelligence or information is commerce among the
   27 states, . . . we cannot doubt that intercourse or communication between persons in
        different states, by means of correspondence through the mails, is commerce among
   28 the states within the meaning of the Constitution . . . .”)


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    1         Similarly, USC’s employees are subject to heavy federal regulation. Indeed,
    2 alleged work included, for example, investigations of violations of Title IX and other

    3 federal regulations. Further, as Means explained to USC’s Academic Senate, USC’s
                                                                       42
    4 investigators use advanced technology for broad geographic reach. Thus, USC must

    5
        lose its FAA Motion, under §§ 1 and 2.

    6
                     C.    USC HAS NOT ESTABLISHED ENFORCABILITY
              Assuming, arguendo, that the FAA applies, but see supra, (re: Franken
    7
        Amendment and unconstitutional preemption), USC’s prima facie case, as well as
    8
        Doe’s defenses, are triable under § 4,43 which confirms that no pro-employer
    9
        presumption exists. § 4 (“If the jury find that an agreement for arbitration was made in
   10
        writing. . . .”); Three Valleys Mun. Water Dist., 925 F.2d at 1141. USC’s own
   11
        authority requires USC to prove: (1) a lawful contract;44 (2) with binding terms;45 and
   12
        (3) not contrary to the Labor Code.46 Further, courts are “particularly attuned”47 to
   13
        ensuring that such agreements are bilateral in effect.48 As argued below, the Franken
   14
        Amendment and state dual-sovereignty police-power “waiver” statutes are at issue.
   15
                     D.    THE AA VIOLATES THE FRANKEN AMENDMENT
   16         Contracts with an unlawful object are void. Cal. Civ. Code § 1667.49 A
   17 “violation of federal law is a violation of law for purposes of” § 1667. Kashani v.

   18

   19   42
           Cf.,New Prime Inc. v. Oliveira, 139 S. Ct. 532, 539, 202 L. Ed. 2d 536 (2019),
        Justice Gorsuch explained “happily” there was no dispute as to whether the employee
   20   was   “engaged in interstate commerce.” Here, there are factual disputes.
        43
           “If the making of the arbitration agreement or the failure, neglect, or refusal to
   21   perform … be in issue ...” Doe “may . . . demand a jury trial of such issue.”
        44
           Illegality is a generally applicable contract defense. Kaiser Steel Corp. v. Mullins,
   22   455   U.S. 72, 77, 102 S. Ct. 851, 70 L. Ed. 2d 833 (1982).
        45
           Gelow,   560 F. Supp. 2d 972.
   23   46
           Davis v. Nordstrom, Inc., 755 F.3d 1089, 1093 (9th Cir. 2014), and 1095, fn. 10
        (2014) (noting arbitration contract cannot “run afoul of the Labor Code”, and refusing
   24   to
        47
            address “whether a mandatory arbitration program” would violate the NLRA).
           Poublon   v. C.H. Robinson Co., 846 F.3d 1251, 1261 (9th Cir. 2017).
   25   48
           Circuit  City  Stores, Inc. v. Adams, 279 F.3d 889 (9th Cir. 2002).
        49
           Cal. Civ. Code § 1667(That is not lawful which is: “Contrary to an express provision
   26   of law;” “Contrary to the policy of express law, though not expressly prohibited;” or
        “Otherwise contrary to good morals.”); Thom v. Stewart, 162 Cal. 413, 415, 122 P.
   27   1069 (1912) (Any agreement “the consideration of which is immoral or unlawful is
        void,” and “incapable of enforcement”); Allen v. Jordanos' Inc., 52 Cal. App. 3d 160,
   28   166, 125 Cal. Rptr. 31 (1975) (consideration “void for illegality is no consideration.”).

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    1 Tsann Kuen China Enter. Co., 118 Cal. App. 4th 531, 543 (2004). The Franken

    2 Amendment broadly provides that, as a condition of USC’s federal defense contracting,

    3 which contracting is judicially noticeable, USC must “agree[] not to” enter into, or

    4 enforce, any agreements for the arbitration of “any claim under Title VII.” 48 C.F.R. §

    5
        222.7402 (a)(1) or (2). USC, however, drafted the AA at ¶¶(3)(1) to circumvent
        Congress and Article III. First, the AA excises the word “any”; but the word “any” is
    6
        in the statute, and “any” has “expansive meaning.” U.S. v. Gonzales, 520 U.S. 1, 5
    7
        (1997). Next, USC’s AA excludes claims “brought under” Title VII, but “brought” is
    8
        not in the statute or regulation.50 USC’s own argument that California may enact more
    9
        protective statutes under Title VII demonstrates the point. See Mot., at p. 23:14–23
   10
        (concerning FEHA being more protective). USC’s contention that FEHA claims must
   11
        be arbitrated seeks to arbitrate claims “under” Title VII, as Title VII authorizes more
   12
        protective state rights.51 As Armendariz explained, “[p]arallel state anti-discrimination
   13
        laws are explicitly made part of Title VII’s enforcement scheme.”52 24 Cal. 4th at 95;
   14 cf. 29 C.F.R. § 1601.70, 74. USC, by introducing modifiers, makes itself the “arbiter”

   15 of statutory interpretation, violating Nichols v. U.S., 578 U. S. –––– (2016).53

   16         The same is true at Mot., p. 12 and 28, arguing the Franken Amendment would
   17

   18   50
           “It is a fundamental principle of statutory interpretation that ‘absent provision[s]
        cannot be supplied by the courts.’” Rotkiske v. Klemm, 140 S. Ct. 355, 361, 205 L.
   19   Ed. 2d 291 (2019). By introducing limitations, USC would have to ask the court to
        alter, rather than to interpret. Nichols v. U.S., 578 U. S. –––– (2016).
   20   51
           42 U.S.C. § 2007e-7 (“Nothing in thissubchapter shall be deemed to exempt or
        relieve any person from liability, duty, penalty or punishment provided by any present
   21   or future law of any State . . . other than any such law which purports to require or
        permit the doing of any act which would be an unlawful employment practice under
   22   this subchapter”); see also, 42 U.S.C.A. § 2000e-7 (West) (authorizing worksharing
        agreements between the EEOC and state agencies like California’s DFEH); 42
   23   U.S.C.A. § 2000e-8(b) (West) (providing for executive- branch coordination with state
        agencies for furthering equal opportunity); 42 U.S.C.A. § 2000e-5(c),(d) (West)
   24   (EEOC defers to state agencies in parallel enforcement actions). Similarly, under
        Title VII. the EEOC is authorized to enter into work to enter into workshare
   25   agreements with more protective states like California. https://www.dfeh.ca.gov/wp-
        content/uploads/sites/32/2019/01/WorksharingAgreementFY2019WSA.pdf
   26   52
           Also see, Prudential Ins. Co. of Am. v. Lai, 42 F.3d 1299, 1303 (9th Cir. 1994), n. 1,
        citing Kremer v. Chem. Const. Corp., 456 U.S. 461, 477, 102 S. Ct. 1883, 72 L. Ed. 2d
   27   262   (1982); Salgado v. Atl. Richfield Co., 823 F.2d 1322, 1326 (9th Cir. 1987).
        53
           It is fundamental that “absent provision[s] cannot be supplied by the courts,”
   28   Rotkiske, 140 S. Ct. at 361, let alone by USC, which is not even an Article III court.

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    1 not extend to Title IX employee claims. “Under,” as that term appears in the statute, is

    2 a broad word meaning “subject to the authority, control, guidance, or instruction of.”
                                                                                             54


    3 Statues and regulations under Title VII and Title IX recognize a need to maintain
                                 55
    4 consistency with Title VII. Moreover, Doe’s plain language interpretation is

    5
        consistent with the Congressional record.56 Thus, for these reasons alone, Doe’s claims
        are “under Title VII of the Civil Rights Act.” Cf., Comp. ¶ 2, ¶ 36, 64-82, and 221.
    6
                 Similarly, the AA at ¶3(2) violates Franken, and Supreme Court precedent, by
    7
        modifying “any tort” and using “tort claims,” again leaving out the broad modifier
    8
        “any” and adding the limiting modifier “claims.” The AA seeks to compress the
    9
        Franken Amendment to limit USC’s liability. Reducing “torts” to “tort claims”
   10
        seems calculated to compel arbitration over retaliation-predicated liability theories.
   11
        The Franken Amendment, clearly broad enough to compel an open trial over an
   12
        employer’s unlawful attempts to intimidate or retaliate against reporting/assisting
   13
        parties, is deceptively narrowed by USC. Indeed, the proof is in the pudding, because
   14
        USC’s motion itself makes the argument that FEHA retaliation against assisting
   15
        parties in a sexual harassment investigation is not a “tort claim.” USC’s Motion
   16
        proves that reducing “torts” to “tort claims” was calculated and intentional.
   17
                 D also adds the limiting modifier “sexual,” instead of Franken’s “sexual assault
   18
        or harassment.” Nothing in the Franken Amendment authorizes D to add or delete
   19
   20
        54
             “Under” Merriam-Webster.com. Merriam-Webster (2020), link at
   21 https://www.merriam-webster.com/dictionary/under
        55
             Title VII provides for the EEOC’s guidance and instruction as the EEOC is shall
   22 “coordinate” with other agencies responsible for enforcing and implementing
        employment equal employment opportunity legislation. Section 715 of the TitleVII
   23 of the Civil Rights Act of 1964, as amended, 42 U.S.C.A. § 2000e-14 (West); cf., 34
        C.F.R. § 106.6(f) (clarifies that Title IX cannot be read in derogation of rights under
   24 Title VII); 85 FR 300026-1, at 590 (taking guidance from Title VII and providing that
        the “Department will will construe Title IX and its implementing regulations in a
   25 manner to avoid an actual conflict between an employer's obligations under Title VII
        and Title IX.”); 28 CFR 2.610(a) (required to give due weight to EEOC's
   26 determination that reasonable cause exists to believe that Title VII was violated.)
        56
             DOE’s plain interpretation is consistent with the Congressional record. 155 Cong.
   27 Rec. 23,403 (2009). The purpose was “to give the victims . . . of discrimination their
        day in court.” Id. at 23,559. The “amendment would make sure all military
   28 contractors . . . give victims that basic right.” Id. at 23,560–61.


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    1 modifiers. The Complaint alleges Doe’s “common law and statutory [claims] herein
                57


    2 arise, at least in part from alleged sexual harassment or assault.” Comp. ¶ 47. Further,

    3 as there is no limiting modifier of “claims,” the allegations are within the Franken

    4 Amendment. Id ¶¶ 48-63; id. ¶¶ 83-98.

    5                 E.     THE ALLEGED AGREEMENT EXCLUDES DOE’S CLAIMS

    6
               “Courts generally . . . should apply ordinary state-law principles that govern the
        formation of contracts.” First Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 939
    7
        (1995); Cal. Civ. Code § 1639. The statutory requirement to resolve reasonable
    8
        ambiguities against USC, and other California rules, carries particular force here.
    9
        Sandquist v. Lebo Auto., Inc., 1 Cal. 5th 233, 248 (2016). Here, as explained above ¶ 3
   10
        in the AAA expressly supersedes ¶ 2, and must be enforced “even if other provisions
   11
        read in isolation . . . seem to dictate a different result.” Boghos, 36 Cal. 4th at 503–
   12
        504.58 Even without the Franken Amendment, Part (2) of ¶ 3 demonstrates that P’s
   13
        claims are “not covered.” The AA does not cover “tort claims (e.g., assault and
   14
        battery, intentional infliction of emotional distress, false imprisonment or negligent
   15 hiring, supervision or retention) if they are related to or arising out of sexual assault

   16 or sexual harassment.” Doe’s 3rd and 4th “tort claims” are “related to or arise out of

   17 sexual assault or sexual harassment.” Title IX is a tort claim. Stanley v. Trustees of

   18 California State Univ., 433 F.3d 1129 (9th Cir. 2006). As the FEHA is a tort claim. 59

   19 Bihun v. AT&T Info. Sys., Inc., 13 Cal. App. 4th 976, 1002 (1993).60 Negligent Hiring
   20 is a tort claim and is alleged. Comp. ¶¶ 83–98. As note, however, the Franken

   21 Amendment is not limited to “tort claims.” Comp. ¶¶ 47, 48, 64–82.
                                                                        61


   22                 F.     THE FAA DOES NOT GOVERN CA’S POLICE POWERS
   23

   24   57
           Doe discloses that there are conclusory district court opinions on Franken.
        58
           Cf., E.E.O.C. v. Waffle House, Inc., 534 U.S. 279, 294, 122 S. Ct. 754, (2002)
   25   (“[W]e do not override . . . the plain text . . .,” for a “policy favoring arbitration. . . .”)
        59
           Doe filed state claims in state court permissible under Colorado River abstention.
   26   60
           As modified on denial of reh'g (Mar. 25, 1993); disapproved on other grounds by
        Lakin v. Watkins Associated Indus., 6 Cal. 4th 644, 863 P.2d 179 (1993) (“The fact
   27   sexual harassment is made actionable by statute Does not make it any less a ‘tort’ than
        battery, false imprisonment or negligence”).
   28   61
           Doe’s claims are also contractually excluded by ¶ 3(1).

                                              16
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    1            In considering USC’s Motion, federal courts are “subject to the restrictions and
    2 limitations of the public policy of the United States.’” Am. Postal Workers Union

    3 AFL-CIO v. U.S. Postal Serv., 682 F.2d 1280, 1286 (9th Cir. 1982). Courts “refer to

    4 basic principles of federalism” and insist on a clear indication of Congressional intent

    5
        “before interpreting the statute’s expansive language in a way that intrudes on the
        police power of the States.”62 In W. Coast Hotel Co. v. Parrish, 300 U.S. 379, 393
    6
        (1937), the Supreme Court upheld the expansive rights of state legislatures under
    7
        police powers.63 The FAA exhibits no manifest intent to preempt such dual sovereign
    8
        legislative police powers.”64 The Congressional Record of the FAA is again
    9
        consistent.65 California’s legislature has exercised police power66 to protect
   10
        employees. See, Comp., ¶ 116-122. Examples include:
   11
                 • Labor Code § 923 (1937) safeguards employees “from entering into”
   12

   13
        62
             Bond v. U.S., 572 U.S. 844, 134 S. Ct. 2077, 2090, 189 L. Ed. 2d 1 (2014);
   14 Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 87 L. Ed. 2d 444, 105 S. Ct.
        3346, 473 U.S. 614, 628, 53 USLW 5069, 1985-2 Trade Cases P 66669 (1985). The
   15 Supreme Court has “never assumed lightly that Congress has derogated state
        regulation, but instead [has] addressed claims of pre-emption with the starting
   16 presumption that Congress Does not intend to supplant state law.” New York State
        Conference of Blue Cross & Blue Shield Plans v. Travelers Ins. Co., 514 U.S. 645,
   17 654–55, 115, 115 S. Ct. 1671, 131 L. Ed. 2d 695 (1995) (citations omitted). Also see,
        Hillsborough Cty., Fla. v. Automated Med. Labs., Inc., 471 U.S. 707, 715, 105 S. Ct.
   18 2371, 85 L. Ed. 2d 714 (1985); Californians For Safe & Competitive Dump Truck
        Transp.  v. Mendonca, 152 F.3d 1184, 1186 (9th Cir. 1998).
   19   63
           “In dealing with the relation of employer and employed, the [state] has necessarily a
        wide field of discretion in order that there may be suitable protection of health and
   20   safety, and that peace and good order may be promoted through regulations designed to
        insure wholesome conditions of work and freedom from oppression.. . .where the
   21   parties do not stand upon an equality, or where the public health demands that one
        party to the contract shall be protected against himself.”
   22   64
           In Prima Paint Corp. v. Flood & Conklin Mfg. Co., 388 U.S. 395, 403, 87 S. Ct.
        1801, 18 L. Ed. 2d 1270 (1967), the court commented that the FAA excludes from its
   23   reach an employer requiring the “employee's agreement to an arbitration clause in a
        contract  obtained by superior bargaining power.”)
   24   65
           See, e.g., 65 Cong. Rec. 1931 (remarks of Rep. Graham) (the FAA provides an
        “opportunity to enforce ... an agreement to arbitrate, when voluntarily placed in the
   25   document by the parties to it”). Congress never endorsed a policy favoring arbitration
        where one party sets the terms while the other is left to “take it or leave it.” Hearing 9
   26   (remarks   of Sen. Walsh) (internal quotation marks omitted).
        66
           California’s FEHA and Labor Code exercise legislative police powers. (Gov. Code
   27   § 12920 (FEHA is an exercise of California’s police power for “the protection of the
        welfare, health and peace of the people of the state.”); Sonic-Calabasas A, Inc. v.
   28   Moreno, 57 Cal. 4th 1109, 311 P.3d 184 (2013) (same for Labor Code.)

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    1             agreements “that are not voluntary. . . .” Nutter v. City of Santa Monica, 74
    2             Cal. App. 2d 292, 168 P.2d 741 (1946) (voluntary means “negotiated.”)
    3            • Labor Code § 432.5 (1963) (prohibits employers from “requiring” employees
    4             to agree in writing to any “condition” known to be “prohibited by law.”)

    5
                 • Government Code § 12964.5 (2019) declares it an “unlawful employment
                  practice for an employer . . . as a condition of employment” to require release
    6
                  (i.e., waiver) of rights in the FEHA, including “the right to file and pursue a
    7
                  civil action or complaint with . . . any court or other governmental agency.”
    8
                 • Labor Code § 432.6 (2020) prohibits an employer from making it a “condition
    9
                  of employment” for an employee to “waive any right, forum or procedure” for
   10
                  a violation of the FEHA or Labor Code. Also, Gov. Code § 12953.
   11
                 D’s conclusory argument, in Mot., p. 23, fn. 9 that P’s citations to Labor Code
   12
        432.4-432.6 and Gov. Code § 12953 are misplaced, misses the mark. As already
   13
        established, California has these statutory police powers. D’s evidence concedes the
   14 lack of negotiation, continuing at-will employment, and unlawful waivers.67

   15            There are a couple of other points. Section 432.6 applies to “contracts for
   16 employment entered into, modified or extended on or after January 1, 2020.” P alleges

   17 at-will employment within the meaning of Labor Code §2922 (versus a specified term

   18 in § 2924). Comp., ¶ 122. Cf., Midwest Motor Supply Co. v. Superior Court of Contra

   19 Costa Cty., 56 Cal. App. 5th 702, 270 Cal. Rptr. 3d 683 (2020) (extended in the
                                             68
   20 context of a specified term agreement). Moreover, in 2020 alone, D has adopted

   21 about ten new policies, modifying P’s at-will employment. (E.g., Comp. ¶ 76. (Cal.
                             69                                                   70


   22 Code Regs. tit. 2, § 11023(b).) Last, D’s citation to Chamber of Com. v. Becerra, 438

   23
        67
             In Perry, cited supra at fn. 39, our Supreme Court’s ruled on different language in
   24 Labor Code § 229. Justice Occoner’s precient reasoning in her Perry dissent applies
        to Doe’s assertions and the facts at bar. In Perry, 482 U.S. at 494, the majority held
   25 that Labor Code § 229 was preempted by the FAA as disregarding the FAA in
        mandating a judical forum. Justice O’connor in dissent, at 494-495, would have read
   26 it as prohibiting a waiver of a judicial forum, and therefore not preempted by the FAA.
        68
             As the FAA is merely a procedural enforcement mechanism for private contracts,
   27 there is no logical prohibition on California’s exercise of police power.
        69
             https://policy.usc.edu/new-revised-policies/.
   28   70
             https://policy.usc.edu/discrimination/

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    1 F. Supp. 3d 1078, 1108 (E.D. Cal. 2020) is inapposite. The issue of state legislative

    2 police dual sovereign powers was not raised or analyzed. The Becerra court’s

    3 reasoning was, in part, rejected in Midwest Motor Supply Co., 56 Cal. App. 5th at 702

    4 (but failing to see the issue of continued at-will employment).

    5                  G.     THE AA DOES NOT COMPLY WITH ARMENDARIZ

    6
                 Armendariz requires “neutral forum,”71 and an AA must not:
                 • “limit statutorily imposed remedies” (at 103);
    7
                 • contain express discovery limitations contrary to “procedures necessary to
    8
                    vindicate the claim” (at 106);
    9
                 • provide for an award that does not contain within it the “essential finding
   10
                    and conclusions on which the award is based” (at 107); or
   11
                 • require [P] to “bear any type of expense that the employee would not be
   12
                    required to bear if [P] were free to bring the matter in court” (at 110).
   13
        Here, the AA fails Armendariz. First, the AA falsely warrants “impartial
   14
        arbitration.” JAMS is not a neutral forum72 Courts are to “be even more scrupulous
   15 to safeguard the impartiality of arbitrators than judges.”73 (Cf., Comp., ¶¶ 261-265;

   16 Ca. Ev. Code § 412;74 RFJN.) Second, the AA’s express provisions limit discovery

   17

   18
        71
             Cole v. Burns Int'l Sec. Servs., 105 F.3d 1465 (D.C. Cir. 1997); also see,
   19 Armendariz, 24 Cal. 4th at 101, 126 (citing cases prohibiting “less-than-neutral
        arbitration forum.”); Cf., Rodriguez de Quijas v. Shearson/Am. Exp., Inc., 490 U.S.
   20 477, 483, 109 S. Ct. 1917, 104 L. Ed. 2d 526 (1989) (“There is nothing in the record
        . . ., nor in the facts of which we can take judicial notice, to indicate that the arbitral
   21 system ... would not afford the plaintiff the rights to which he is entitled.”)
        72
             See also, Hunt v. United Bank & Tr. Co., 210 Cal. 108, 291 P. 184 (1930)
   22 (“whenever the court can collect from the instrument or engagement on the one side to
        do or not to do a certain thing, it amounts to a covenant, whether it be contained in the
   23 recital or in any other part of the instrument.”).
        73
             Commonwealth Coatings Corp. v. Cont'l Cas. Co., 21 L. Ed. 2d 301, 89 S. Ct. 337,
   24 393 U.S. 145, 149 (1968) (“we should, if anything, be even more scrupulous to
      safeguard  the impartiality of arbitrators than judges . . . .”)
   25 74
         Fed. R. Evid. 302 (“In a civil case, state law governs the effect of a presumption
      regarding a claim or defense for which state law supplies the rule of decision.”); also
   26 see, Ev. Code § 412 (“If weaker and less satisfactory evidence is offered when it was
      within the power of the party to produce stronger and more satisfactory evidence, the
   27 evidence offered should be viewed with distrust.”) There rules are also consistent with
      federal precedent. “Conduct which forms a basis for inference is evidence. Silence is
   28 often evidence of the most persuasive character.” U.S. ex rel. Bilokumsky v. Tod, 263


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    1 and introduce the formalism of Rules 12 and 56, contrary to Gilmer and federal
                                                75                               76
    2 public policy in favor of broad discovery. (See, AA ¶ 8; JAMS, Rule 17 (b); ;

    3 Fed. R. Civ. P. 56(c)(2).) Further, there is no mechanism for enforceable third-party
                77
    4 discovery. Third, the form of Award in ¶ 8, conflicts with Armendariz, and/or

    5
        prohibitions in JAMS Rule 24(h).78 Fourth, the express language of AA limits
        equitable remedies, especially when read with JAMS Rule 24(c).79 Fifth, the AA
    6
        expressly violates Armendariz’s rule that an employee cannot be required to “bear
    7
        any type of expense that the employee would not be required to bear if he or she
    8
        were free to bring the matter in court.” The AA reads: [1] USC will provide a
    9
        printed copy upon request Employee’s share of the arbitrator’s fee and [2] the JAMS
   10
        filing fee shall be no more than the then-current filing fee in court.” (AA, ¶ 5). Cf.,
   11
        JAMS Rule 31(c) (“If an Arbitration is based on a clause or agreement that is
   12
        required as a condition of employment, the only fee that an employee may be
   13
        required to pay is the initial JAMS Case Management Fee.”) Similarly, the AA
   14 violates Armendariz by expressly providing for cost-shifting on the Motion.

   15 Pokorny v. Quixtar, Inc., 601 F.3d 987, 1104 (9th Cir. 2010). (Cf., AA, ¶ 5 and 8;

   16 JY Dec., Exh. E, ¶ 2.) Thus, the AA fails Armendariz.

   17                H.     USC’S FRAUD AND/OR BREACH ARE DEFENSES
   18

   19 U.S. 149, 153, 154, 44 S. Ct. 54, 68 L. Ed. 221 (1923); Runkle v. Burnham, 153 U.S.
        216,  225, 14 S. Ct. 837, 38 L. Ed. 694 (1894) (similar to Evid. Code § 412).
   20   75
           “Under Federal Rules of Civil Procedure and Title VII “discovery scope is
        extensive.” Trevino v. Celanese Corp., 701 F.2d 397 (5th Cir. 1983). Mitchell v. Nat'l
   21   R.R. Passenger Corp., 208 F.R.D. 455, 459 (D.D.C. 2002); Ri Sau Kuen Chan v. NYU
        Downtown Hosp., No. 03 CIV. 3003 (CBM), 2004 WL 1886009, at *4 (S.D.N.Y.
   22   8/23/2004) (“imposition of unnecessary discovery limitations . . . is to be avoided.”).
        76
           (“Absent agreement, the Arbitrator shall determine” discovery “based upon the
   23   reasonable need for the requested information, the availability of other discovery and
        the  burdensomeness of the request on the opposing Parties and witness.”)
   24   77
           Aixtron, Inc. v. Veeco Instruments Inc., 52 Cal. App. 5th 360, 265 Cal. Rptr. 3d 851
        (2020),  Gilmer, 500 U.S. at 31 (SEC rule allowed for “subpoenas.”)
   25   78
           “The Award shall consist of a written statement . . . regarding the disposition of
        each claim and the relief, if any, as to each claim. The Award shall also contain a
   26   concise written statement of the reasons for the Award, stating the essential findings
        and  conclusions on which the Award is based.”
   27   79
           (“The Arbitrator may grant any remedy or relief that is just and equitable and
        within the scope of the Parties’ agreement, including, but not limited to, specific
   28   performance of a contract or any other equitable or legal remedy.”).

                                             20
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    1            D has not established that its misrepresentations, or concealment, as articulated
    2 above, are “so obviously unimportant as to make them immaterial as a matter of

    3 law.” D’s authorities concerning private investors and 10b-5 fraud are inapposite,
           80                                                                           81


    4 contrary to the reasoning of Guz v. Bechtel Nat. Inc., 24 Cal. 4th 317, 371, 8 P.3d

    5
        1089 (2000) [even with at-will], and other well reasoned employment cases.82 D also
        ignores the case law concerning duties to disclose to potential employees. D further
    6
        disregards that breaches are a defense. Brown v. Grimes, 192 Cal. App. 4th 265, 277–
    7
        78, 120 Cal. Rptr. 3d 893 (2011); See also, Civil Code § 3391 and 3392. D’s
    8
        “misrepresentations” concern the (1) available “internal processes” for “collegially
    9
        resolving differences,” and (2) “impartial arbitration” with JAMS. (Comp., ¶ 21 and
   10
        22). The misrepresentations also go the “kind” or “character” of work. Labor Code §
   11
        970. D also misrepresents the applicability of the FAA, § 4 jury trial. (AA ¶ 8, Mot.,
   12
        p. 13.) D also belies matters, at Mot. p. 11, as there is no “giving up . . . a jury trial.”
   13
                 But that is not the worst of it. D’s assertion that a “reasonable person” could not
   14

   15
        80
             Engalla v. Permanente Med. Grp., Inc., 15 Cal. 4th 951, 977– 978, 938 P.2d 903
   16 (1997), as modified (July 30, 1997) (an issue of materiality exists if a
        misrepresentation, or concealment, was “not so obviously unimportant as to make
   17 them immaterial as a matter of law”, and “materiality is a question of fact.”); Larian
        v. Larian, 123 Cal. App. 4th 751, 765, 19 Cal. Rptr. 3d 916 (2004), as modified (Nov.
   18 16, 2004) (“Claims that a party has employed fraud in inducing consent specifically
        to the arbitration agreement” are “decided by the court [not arbitrator], because they
   19 go to the valid making of the arbitration [agreement] itself.”)
        81
             E.g., Blankenheim v. E. F. Hutton & Co., 217 Cal. App. 3d 1463, 1474–1475, 266
   20 Cal. Rptr. 593 (1990) (reliance “manifestly unreasonable”); Sears v. Myerson, 106
        Cal. App. 220, 289 P. 173 (1930) (“If there is a doubt as to whether or not a
   21 representation was intended and understood as a mere expression of opinion or a
        statement of fact, the question is one not of law but of fact for the court or jury.”)
   22 P does not rely on a horseback riding instructor’s representation that an injury waiver,
        concerning no public policy, was “meaningless.” P is not a private investor claiming
   23 securities fraud under 10b-5 on “aspirational” codes of ethics. Guido v. Koopman, 1
        Cal. App. 4th 837, 2 Cal. Rptr. 2d 437 (1991); Retail Wholesale & Dep't Store Union
   24 Local 338 Ret. Fund v. Hewlett-Packard Co., 845 F.3d 1268 (9th Cir. 2017); Desai v.
      Gen. Growth Properties, Inc., 654 F. Supp. 2d 836, 857 (N.D. Ill. 2009).
   25 82
         Guz, 24 Cal. 4th 317(“logic suggests that the employer may intend, and employees
      may understand, such generally promulgated policies as a systematic approach to
   26 personnel relations, providing a clear and uniform alternative to haphazard practices,
      understandings, and arrangements within the company.”) See also, Harshbarger v. CSX
   27 Transp., Inc., 478 F. Supp. 2d 890 (S.D.W. Va. 2006) (employee could reasonably rely
      on on assurances in Code of Ethics); Seiter v. Yokohama Tire Corp., No. C08-5578
   28 RBL, 2010 WL 455132 (W.D. Wash. Feb. 3, 2010) (same).


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    1 rely upon is “absurd.” As explained above, D has misrepresented and/or concealed the

    2 Franken Amendment from federal courts in this district. D has also hidden a final

    3 court order against D on the FEHA being a tort. D has also misrepresented to courts

    4 JAMS Rules containing an enforceable delegation clause. (RFJN.)

    5                I.     THE AGREEMENT IS HIGHLY UNCONSIONABLE

    6
              Unless the employer demonstrates that the effect is bilateral—"courts should
        presume such contracts substantively unconscionable.” Circuit City Stores, Inc. v.
    7
        Mantor, 335 F.3d 1101, 1108 (9th Cir. 2003), citing Ingle, 323 F.3d 1173-1174;
    8
        cArmendariz, 24 Cal. 4th at 115–117.83 Courts “examine the totality of the []
    9
        substantive terms as well as the circumstances of its formation . . . .” Carbajal v.
   10
        CWPSC, 245 Cal. App. 4th 224, 242 (2016), citing Sonic-Calabasas A, Inc., 57 Cal.
   11
        4th at 1146. Here, procedural unconscionability is clearly met: “An arbitration
   12
        agreement that is an essential part of a take it or leave it employment condition,
   13
        without more, is procedurally unconscionable.” Martinez v. Master Prot. Corp., 118
   14
        Cal. App. 4th 107, 12 Cal. Rptr. 3d 663 (2004). Sophistication does not undercut
   15 “surprise or other sharp practices where a party with less bargaining power is not told

   16 about an unusual provision, or otherwise “lied to, placed under duress, or otherwise

   17 manipulated into signing the arbitration agreement.” Poublon, 846 F.3d at 1261, citing

   18 Baltazar v. Forever 21, Inc., 62 Cal. 4th 1237, 1245, 367 P.3d 6 (2016). Further, an

   19 agreement confusing language is unconscionable. 84 So is a one-sided description of
   20 arbitration.85 USC also cannot require employees to go elsewhere to figure-out

   21

   22

   23   83
           “Given the lack of choice and the potential disadvantages that even a fair arbitration
   24   system can harbor for employees,” courts “must be particularly attuned to claims that
        employers with superior bargaining power have imposed one-sided, substantively
   25   unconscionable terms as part of an arbitration agreement.”
        84
           Milliner v. Bock Evans Fin. Counsel, Ltd., 114 F. Supp. 3d 871 (N.D. Ca. 2015);
   26   Lou v. Ma Labs., Inc., C 12-05409 WHA, 2013 WL 2147459 (N.D. Ca. 5/15/13.)
        85
           Quevedo v. Macy's, Inc., 798 F. Supp. 2d 1122, 1137 (C.D. Cal. 2011) (procedural
   27   unconscionability where D “[gave] a one-side view of the benefits of arbitration and
        [did] not alert employees to the potential drawbacks of foregoing the rights available
   28   in federal court to a jury trial, to more extensive discovery, and appeal.”)

                                             22
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                                                86
    1 differences between JAMS Rules and the AA. Here, as demonstrated above, D
                                87                                                        88
    2 violates all of the above. D’s decades-old citations are inapposite in this context.

    3         Substantive unconscionability, Sonic-Calabasas., at 1146, is shown by:
    4         terms that impair the integrity of the bargaining process or otherwise
              contravene the public interest or public policy; terms (usually of an adhesion
    5         or boilerplate nature) that attempt to alter in an impermissible manner
              fundamental duties otherwise imposed by the law, fine-print terms, or
    6         provisions that seek to negate the reasonable expectations of the nondrafting
              party, or unreasonably and unexpectedly harsh terms having to do with . . .
    7         central aspects of the transaction.”
    8   Here, as demonstrated above, the AA fails on all these grounds. Numerous courts have

    9
        reasoned consistent with the above: (Ingle v. Circuit City Stores, Inc., 328 F.3d 1165,
        1179 (9th Cir. 2003),89 as here there is express power to revoke. Also, with express
   10
        terms contrary to equitable exceptions to the “prescribed” statute of limitations. AA, ¶
   11
        6. Ingle, 328 F.3d 1165.90 Further, the JAMS Minimum Standards do not save D, as
   12

   13   86
           Zullo v. Superior Court, 197 Cal. App. 4th 477, 485–486, 127 Cal. Rptr. 3d 461
   14   (2011) (requiring Account Executive to make an independent inquiry to find the
        applicable rules in order to understand what she was about to sign was procedurally
   15   unconscionable); Lane v. Francis Capital Mgmt. LLC, 224 Cal. App. 4th 676, 168 Cal.
        Rptr. 3d 800 (2014) (agreement “clearly specified a particular set of [] rules, and it did
   16   not  modify those rules in any manner.”)
        87
           (E.g.’s, ¶ 2 [excluding the Universities related entities from the obligation to arbitrate
   17   claims against P]; ¶ 6 [requiring an employee to “factually describe the nature of all
        claims asserted” subject to a motion to dismiss without the promised “collegial
   18   process” and while the University sits on the stronger evidence.] USC also hides
        within vague prolix other terms imposing an “inferior forum.” (E.g., ¶ 5 [superseding
   19   conflicting JAMS rules], ¶ 6 [statute of limitations language directly contradicting
        JAMS unincorporated Minimum Standards]), ¶ 7 [using vague “to the maximum
   20   extent permitted by law” language to insert a one-way waiver”).
        88
           In Lagatree v. Luce, Forward, Hamilton & Scripps, 74 Cal. App. 4th 1105, 88 Cal.
   21   Rptr. 2d 664 (1999), the Court held conditional agreements were not per-se unlawful
        to support a wrongful termination in violation of public policy. Further, Armendariz
   22   found that such a conditional agreement, even without superior bargaining power,
        procedurally unoncsionable. (Mot., p.19, ln. 10-15.)
   23   89
           Cf., 24 Hour Fitness, Inc. v. Superior Court, 66 Cal. App. 4th 1199, 1214–1215, 78
        Cal. Rptr. 2d 533 (1998) (where handbook provided for notice of changes to
   24   employee, unilateral right to modify the agreement was not “illusory” because it must
        be exercised in accordance with the implied covenant of good faith and fair dealing).
   25   However, when an “express provisions of the contract, grant the right to engage in the
        very acts and conduct” they are not “forbidden by an implied covenant of good faith
   26   and
        90
             fair dealing.” Carma Developers (Cal.), Inc., 2 Cal. 4th at 374.
           Addison v. State of California, 21 Cal. 3d 313, 318–319, 578 P.2d 941 (1978)
   27   (“Equitable tolling is a judge-made doctrine “which operates independently of the
        literal wording of the Code of Civil Procedure” to suspend or extend a statute of
   28   limitations as necessary to ensure fundamental practicality and fairness.”); Barrington

                                             23
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    1 neither they or the JAMS EARAP are fully incporporated, and instead ¶ 5 supersedes

    2 conflicting JAMS Rules. So are one-way waivers. Ingle, 328 F.3d 1165. Even ¶8’s

    3 hurdles on discovery negate expectations, especially when combined with the

    4 formalism of the Fed.R.Civ. P. 12 and 56. Yet, the AA restrictions are permitted by

    5
        JAMS Rule 17(b), and a court cannot imply contrary provisions. Moreover, JAMS
        Rule 26, and the Confidentiality Statement, negate expectations. Ting v. AT&T, 319
    6
        F.3d 1126 (9th Cir. 2003); Grabowski v. Robinson, 817 F. Supp. 2d 1159, 1176 (S.D.
    7
        Cal. 2011) (confidentiality provision handicaps employees.). Last, Neither Concepcion
    8
        nor Epic Systems, condone an express one-sided waiver. D’s authority is inapposite. 91
    9
        IV.   ENFORCEMENT IS PREJUDICAL TO THE PUBLIC INTEREST
   10
              Civil Code § 1689’s public interest “may be based on the policy expressed in a
   11
        statute or the rules of a voluntary regulatory entity, or may be implied from the
   12
        language of such statute or rule.” Cariveau v. Halferty, 83 Cal. App. 4th 126, 131, 99
   13
        Cal. Rptr. 2d 417 (2000); Tatterson v. Kehrlein, 88 Cal. App. 34, 263 P. 285 (1927).
   14
        First, JAMS “might reasonably be thought biased against one litigant and favorable to
   15 another.” Commonwealth Coatings Corp. v. Cont'l Cas. Co., 21 L. Ed. 2d 301, 89 S.

   16 Ct. 337, 393 U.S. 145, 149 (1968). Second, D’s assert an AA contrary to federal statute

   17 and Constitutional dual sovereignty. Cf., Fed. Sav. & Loan Ins. Corp. v. Angell,

   18

   19 v. A. H. Robins Co., 39 Cal. 3d 146, 151, 702 P.2d 563 (1985); Elkins v. Derby, 12
        Cal. 3d 410, 420, 525 P.2d 81 (1974); Amaral v. Cintas Corp. No. 2, 163 Cal. App. 4th
   20 1157, 1199–1200, 78 Cal. Rptr. 3d 572 (2008)) (“An amended complaint relates back
        to the filing date of the original complaint, and thus avoids the statute of limitations
   21 bar, so long as the recovery sought in both pleadings is based on the same general set
        of facts.”) Cf., JAMS Minimum Standards (“All remedies that would be available
   22 under the applicable law in a court proceeding, including attorneys fees and exemplary
        damages,  as well as statutes of limitations, must remain available in the arbitration.”)
   23   91
           AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 337, 131 S. Ct. 1740, 179 L. Ed.
        2d 742 (2011) (“arbitration of all disputes between the parties, but required that claims
   24   be brought in the parties’ “individual capacity.”); Carter v. Rent-A-Ctr., Inc., 718 F.
        App'x 502 (9th Cir. 2017) (“Carter’s unconscionability argument is directed at the class
   25   action waiver provision only” and waiver was not one-sided); Kilgore v. KeyBank,
        Nat. Ass'n, 718 F.3d 1052, 1058 (9th Cir. 2013) (“There shall be no authority for any
   26   Claims to be arbitrated on a class action basis.”); Epic Sys. Corp. v. Lewis, 138 S. Ct.
        1612, 200 L. Ed. 2d 889 (2018) (employees did not assert the mutual procedural class
   27   waiver was extracted “in some other unconscionable way that would render any
        contract unenforceable.”) In Asfaw v. Lowe's HIW, Inc., No. LA CV14-00697 JAK,
   28   2014 WL 1928612 (C.D. Cal. May 13, 2014), the waiver applied to “either party.”

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    1 Holmes & Lea, 838 F.2d 395 (9th Cir. 1988). Third, the FAA does not preempt
             92                   93
    2 McGill, meets McGill’s rule, and Art. III. Cruz v. PacifiCare Health Sys., Inc., 30
                                                                                 94
    3 Cal. 4th 303, 66 P.3d 1157 (2003). D’s cases and authority are inapposite.

    4 V.      CONCLUSION
    5         The court should deny D’s Motion. Court’s are not at “liberty to revise an
    6 agreement under the guise of construing it.” Levi Strauss & Co. v. Aetna Cas. & Sur.

    7 Co., 184 Cal. App. 3d 1479, 1486 (1986) [court “cannot insert in the contract language

    8 which one of the parties now wishes were there.”].) More “than one unlawful

    9 provision in an arbitration agreement weighs against severance.” Fitz v. NCR Corp.,

   10 118 Cal. App. 4th 702, 726, 727, 13 Cal. Rptr. 3d 88 (2004).

   11 DATED: December 28, 2020                  BLADY WORKFORCE LAW GROUP
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                                                By: /s/ I. Benjamin Blady
   13                                           Attorneys, for Doe, et al.
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           McGill, 2 Cal. 5th at 961(“Because the arbitration provision purported to waive the
        plaintiff’s right to seek public injunctive relief in any forum, “the arbitration provision
   18   here at issue [was] invalid and unenforceable.”); Blair, 928 F.3d at 822(contractual
        agreement that purports to waive a party’s right to seek public injunctive relief in any
   19   forum   is unenforceable under California law.) See Delisle, 2019 WL 2423090, at *10.
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            McGill v. Citibank, N.A., 2 Cal. 5th 945, 961, 393 P.3d 85 (2017) (“Because the
   20   arbitration provision purported to waive the plaintiff’s right to seek public injunctive
        relief in anyforum, the Court “conclude[d] that the arbitration provision here at issue
   21   [was] invalid and unenforceable.”); Blair v. Rent-A-Ctr., Inc., 928 F.3d 819, 822 (9th
        Cir. 2019). (contractual agreement that purports to waive a party’s right to seek public
   22   injunctive relief in any forum is unenforceable under California law.) See Delisle v.
        Speedy Cash, No. 3:18-CV-2042-GPC-RBB, 2019 WL 2423090, at *10 (S.D. Cal.
   23   June 10, 2019), vacated and remanded, 818 F. App'x 608 (9th Cir. 2020).
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           USC cases concenrn (1) the abrogated California judicial rule requiring injunctive
   24   relief to only be brought in Court (Ferguson v. Corinthian Colleges, Inc., 733 F.3d
        928, 934 (9th Cir. 2013), and Kilgore, 718 F.3d 1052); (2) injunctions that sought to
   25   prohibit enforcement of monetary debt “where class affected by the alleged practices
        is small, and where there is no real prospective benefit to the public at large from the
   26   relief sought” (Kilgore); and (3) an injunction concerning misclassification as
        independent contractors of which the primary purpose and effect was “redressing and
   27   preventing [monetary] harm to DoorDash’s employees.”(Magana v. DoorDash, Inc.,
        343 F. Supp. 3d 891, 901 (N.D. Cal. 2018), and Torrecillas v. Fitness Int'l, LLC, 52
   28   Cal. App. 5th 485, 500, 266 Cal. Rptr. 3d 181 (2020) (re: failing to pay wages).

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